             Case 8:18-bk-06412-RCT         Doc 15   Filed 10/18/18   Page 1 of 2



                                     ORDERED.

     Dated: October 18, 2018




                        UNITED STATES BANKRUPTCY COURT
                           MIDDLE DISTRICT OF FLORIDA
                                 TAMPA DIVISION


IN RE:

WILLIAM JAVIER COLON LOPEZ AKA                   Case No. 8:18-bk-06412-RCT
WILLIAM J. COLON LOPEZ AKA                       Chapter 7
WILLIAM COLON AKA JAVIER COLON
LOPEZ AKA JAVIER LOPEZ AKA
WILLIAM COLON LOPEZ AKA JAVIER
COLON AKA WILLIAM C. LOPEZ,
            Debtor.
______________________________________/

               ORDER GRANTING MOTION FOR RELIEF FROM
          AUTOMATIC STAY IN FAVOR OF JPMORGAN CHASE BANK, N.A.

         THIS CAUSE came before the court upon the Motion for Relief from the Automatic Stay
(Doc. 14), filed by JPMorgan Chase Bank, N.A. ("JPMorgan Chase"). By submitting this form
of order, JPMorgan Chase represents that the Motion was served on all parties as required
by Local Rule 2002-4; that the 21 day response time provided by that rule has expired; that no
one has filed, or served on the movant, a response to the Motion; and that the form of order
was attached as an exhibit to the Motion.
         Having considered the Motion and the absence of any record objection to the relief
requested, the court deems the Motion to be uncontested. The court makes no determination
            Case 8:18-bk-06412-RCT          Doc 15    Filed 10/18/18     Page 2 of 2



that the Debtor has defaulted on the underlying obligation or as to the Creditor’s standing.


       It is therefore ORDERED:
       1.      The Motion (Doc. 14) is granted.
       2.      The stay imposed pursuant to 11 U.S.C. § 362 is modified so as to allow
JPMorgan Chase to complete its repossession of the 2015 Toyota RAV4, VIN No.
2T3WFREV8FW226180 (the “Vehicle”) by selling the Vehicle and applying the proceeds of the
sale of the Vehicle to the amount owed to JPMorgan Chase.
       3.      The stay is modified for the purpose of allowing JPMorgan Chase to complete its
repossession of the Vehicle by selling the Vehicle and applying the proceeds of the sale to the
debt owed to JPMorgan Chase, or to proceed in a Court of competent jurisdiction for the
sole purpose of seeking in rem remedies. JPMorgan Chase shall neither seek nor obtain
any in personam judgment against Debtor
       4.      The request to waive the 14-day stay of this Order under Rule 4001(a)(3) of the
Federal Rules of Bankruptcy Procedure is denied.




Attorney Wanda D. Murray is directed to serve a copy of this order on interested parties who are
non-CM/ECF users and file a proof of service within 3 days of entry of the order.
